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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


  In re:

  BAYOU STEEL BD HOLDINGS, L.L.C., et
  al.,                                                 Chapter 7

                               Debtors,                Case No. 19-12153 (KBO)
                                                       (Jointly Administered)

                                                       Adv. No. 21-51013 (KBO)

                                                       Re: Adv. D.I. 1
  GEORGE L. MILLER, in his capacity as
  Chapter 7 Trustee for the jointly administered
  bankruptcy estates of Bayou Steel BD
  Holdings, L.L.C., et al.,

                               Plaintiff,

       v.

  BLACK DIAMOND CAPITAL
  MANAGEMENT, L.L.C.; BDCM
  OPPORTUNITY FUND IV, L.P.; BLACK
  DIAMOND COMMERCIAL FINANCE,
  L.L.C.; SAM FARAHNAK; PHIL
  RAYGORODETSKY; ROB
  ARCHAMBAULT; TERRY TAFT; and BOB
  UNFRIED,

                               Defendants.



   DEFENDANTS BLACK DIAMOND CAPITAL MANAGEMENT, L.L.C., BDCM
   OPPORTUNITY FUND IV, L.P., BLACK DIAMOND COMMERCIAL FINANCE,
 L.L.C, SAM FARAHNAK, AND PHIL RAYGORODETSKY’S MOTION TO DISMISS

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to these

proceedings by Rule 7012 of the Federal Rules of Bankruptcy Procedure, and for the reasons set

forth in the accompanying memorandum (the “Memorandum”) in support of this motion (the


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“Motion”), defendants Black Diamond Capital Management, L.L.C. (“BDCM”), BDCM

Opportunity Fund IV, L.P. (“Fund IV”), Black Diamond Commercial Finance, L.L.C (“BDCF”)

(collectively, with BDCM and Fund IV, the “Black Diamond Entities”), Sam Farahnak, and Phil

Raygorodetsky (together, the “Director Defendants,” and, collectively with the Black Diamond

Entities, the “Black Diamond Defendants”) hereby respectfully move for dismissal with prejudice

of the complaint (Adv. D.I. 1) (the “Complaint”) filed by Plaintiff George L. Miller, in his capacity

as Chapter 7 Trustee for the jointly administered bankruptcy estates of Bayou Steel BD Holdings,

L.L.C., et al. (the “Debtors”).

       WHEREFORE, the Black Diamond Defendants respectfully request that this Court enter

an order in substantially the form attached hereto as Exhibit A and grant such further relief as the

Court may deem necessary and proper.



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Dated: November 22, 2021
       Wilmington, Delaware

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                                           and Phil Raygorodetsky




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